Case 20-06070-sms        Doc 25    Filed 02/17/21 Entered 02/17/21 11:47:15            Desc Main
                                  Document      Page 1 of 10



                     IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE NORTHERN DISTRICT OF GEORGIA
                                ATLANTA DIVISION


 IN RE:
                                                    Case No. 14-75160-sms
 ANTHONY CARVER MCCLARN,                            Chapter 13

       Debtor.


 ANTHONY CARVER MCCLARN,

       Plaintiff,

 v.                                                 Adversary No. 20-06070-sms

 CITIZENS TRUST BANK and LOANCARE,
 LLC,

       Defendants.


  PLAINTIFF’S RESPONSES AND OBJECTIONS TO CITIZENS TRUST BANK AND
  LOANCARE, LLC’S INTERROGATORIES AND REQUESTS FOR PRODUCTION

       COMES NOW Plaintiff, by and through the undersigned counsel of record, and hereby

responds to Defendants’ Interrogatories and Requests for Production as follows:

       Plaintiff objects to each stated request to the extent that said requests seek to invade the

attorney/client privilege, seek information protected by the attorney work product privilege, or to

the extent the requests are overly broad, unduly burdensome or otherwise exceed the permissible

scope of discovery under the Federal Rules of Civil Procedure. Plaintiff further objects to the

definitions and instructions set forth by the Defendant to the extent that said definitions and

instructions seek to impose obligations or requirements beyond those contemplated by the Federal

Rules of Civil Procedure. Subject to said objections and without waiving same, Plaintiff responds

to each enumerated request as follows:


                                                1
Case 20-06070-sms        Doc 25    Filed 02/17/21 Entered 02/17/21 11:47:15             Desc Main
                                  Document      Page 2 of 10



                                     INTERROGATORIES

       1.      Please identify each person who assisted you in any way with the preparation of

your responses to these First Interrogatories, First Request for Admissions, and First Request for

Production of Documents.

RESPONSE: Plaintiff, Plaintiff’s Counsel, Christopher Sleeper and R. Jefferey Field,

prepared responses to First Interrogatories, First Request for Admissions, and First Request

for Production of Documents.

       2.      Please identify each person whom you claim or believe has knowledge or

information concerning the remaining claim in the Complaint for contempt. In doing so, please

provide the name, phone number, address, and substance of the information known by such person,

and whether the person has provided a written statement.

RESPONSE: Plaintiff objects to this request to the extent that it is premature and overly

broad as the specifics of this claim are currently under investigation and discovery is

ongoing. Subject to this objection and without waiving the same, Plaintiff responds as

follows:

       Plaintiff, and his counsel, Christopher Sleeper and R. Jefferey Field, as well as agents

of Citizens Trust Bank, and LoanCare, LLC are the only people who have knowledge or

information regarding this claim. Plaintiff reserves the right to supplement and/or amend

this response as discovery is ongoing.


       3.      Please identify each person whom you may or will call as a witness at any trial or

hearing in this matter. In doing so, please provide the name and address of the witness, the subject

matter the witness is expected to testify, and whether any such person has given a written statement

or account.


                                                 2
Case 20-06070-sms        Doc 25    Filed 02/17/21 Entered 02/17/21 11:47:15             Desc Main
                                  Document      Page 3 of 10



RESPONSE: Plaintiff objects to this request to the extent that it is premature and overly

broad as the specifics of this claim are currently under investigation and discovery is

ongoing. Subject to this objection and without waiving the same, Plaintiff expects to call the

following witnesses:

      Anthony Carver McClarn

      Agents, corporate witnesses, and/or current and former employees of Citizens Trust

       Bank, and LoanCare, LLC.

Plaintiff reserves the right to supplement and/or amend this response as discovery is ongoing.

       4.      Please identify each expert expected to testify at trial or provide any evidence

whatsoever in this matter and state the subject matter about which the expert is to testify, the

substance of the facts and opinions to which the expert is expected to testify, and give a summary

of the grounds for each opinion. This interrogatory applies to all expert witnesses of every kind.

RESPONSE: At this time, Plaintiff does not expect to call an expert witness regarding this

matter.

       5.      Please describe, in detail, the damages that you are claiming in this action.

RESPONSE: Plaintiff seeks to recover all general and special damages allowed under the

law, including attorney fees, and also punitive damages against Citizens Trust Bank, and

LoanCare, LLC.

       6.      Please quantify each category of damages that you identified in response to

Interrogatory No. 5.

RESPONSE: Plaintiff objects to this request to the extent that it is premature and overly

broad as the specifics of this claim are currently under investigation and discovery is




                                                 3
Case 20-06070-sms        Doc 25     Filed 02/17/21 Entered 02/17/21 11:47:15             Desc Main
                                   Document      Page 4 of 10



ongoing. The exact amount cannot be quantified at this time because the discovery is

ongoing. Plaintiff reserves the right to supplement and/or amend this response.

       7.      If any of the damages that you identified in response to Interrogatory No. 5 include

emotional/mental distress damages, please provide the name, telephone number, and address of

any health professional (including, but not limited to physicians, physician’s assistants, nurse

practitioners, psychologists, and social workers) that you consulted with in person or electronically

regarding the claimed emotional/mental distress and identify (1) the date(s) on which you

consulted with the health professional; (2) the reason why you consulted with the health

professional; (3) any diagnosis by the health professional; and (4) the course of treatment, if any,

proscribed by the health professional.

RESPONSE: Plaintiff objects to this request as overly broad and unduly burdensome.

Plaintiff further object to this request to the extent that it seeks to invade, or purport to

compel Plaintiff to disclose information that is private, privileged medical information and

HIPAA-protected. Plaintiff reserves the right to supplement and/or amend this response.

       8.      If any of the damages that you identified in response to Interrogatory No. 5 include

emotional/mental distress damages, please provide the (1) names, (2) dosages, and (3) dates of

treatment by any prescription or over the counter drugs.

RESPONSE: Plaintiff objects to this request as overly broad and unduly burdensome.

Plaintiff further object to this request to the extent that it seeks to invade, or purport to

compel Plaintiff to disclose information that is private, privileged medical information and

HIPAA-protected. Plaintiff reserves the right to supplement and/or amend this response.

       9.      If any of the damages that you identified in response to Interrogatory No. 5 include

emotional/mental distress damages, please describe the emotional/mental distress in detail,



                                                 4
Case 20-06070-sms       Doc 25    Filed 02/17/21 Entered 02/17/21 11:47:15            Desc Main
                                 Document      Page 5 of 10



including (1) your symptoms, (2) what you believe the symptom(s) were caused by, and (3) how

it has impacted you.

RESPONSE: Plaintiff objects to this request as overly broad and unduly burdensome.

Plaintiff further object to this request to the extent that it seeks to invade, or purport to

compel Plaintiff to disclose information that is private, privileged medical information and

HIPAA-protected. Plaintiff reserves the right to supplement and/or amend this response.

       10.    If any of the damages that you identified in response to Interrogatory No. 5 include

attorney’s fees, please describe your fee arrangement with your counsel, including (1) the hourly

rate, and (2) whether your fee arrangement is memorialized in writing.

RESPONSE: Plaintiff objects to this request to the extent that said request seeks to invade

the attorney/client privilege. Subject to this objection and without waiving the same, Plaintiff

has a customary written fee arrangement with Jeff Field & Associates providing for

adversary work at the attorney hourly billing rate of $200.00 and paralegal/legal assistance

hourly billing rate of $75.00.

       11.    Please describe, in detail, how you contend that either Defendant violated the terms

of the confirmed Chapter 13 Plan, as alleged in Paragraph 54 of the Complaint.

RESPONSE: Plaintiff objects to this request on the grounds that it is vague and ambiguous,

that it calls for the information that are irrelevant to this action and not reasonably

calculated to lead to the discovery of admissible evidence. The Court denied Plaintiff’s

contention referenced in Interrogatory No. 11. Therefore, the information Defendants seek

is irrelevant to the matter at hand.

       12.    Please describe any and all communications that you had with Citizens or LoanCare

between the time that the Consent Order was entered and the date that this adversary proceeding



                                               5
Case 20-06070-sms        Doc 25     Filed 02/17/21 Entered 02/17/21 11:47:15            Desc Main
                                   Document      Page 6 of 10



was filed and include (1) the date of the communication; (2) the method of the communication;

and (3) the substance of the communication.

RESPONE: Plaintiff objects to this request to the extent that said request seeks to invade the

attorney/client privilege. Plaintiff further objects as some or all of the information requested

in this interrogatory is equally or more available to Defendants. Without waiving the said

objections, Plaintiff states that his counsel has had numerous email exchanges and verbal

communications with attorneys with Rubin Lubin, LLC which are equally in Defendants’

possession but can be re-provided if Defendants need. Plaintiff is also in the process of

reviewing and compiling an additional log and documents of communications that may be

responsive to this request. Plaintiff reserves the right to supplement and/or amend this

response.

       13.      Please describe, in detail, how you contend that either Defendant violated the terms

of the Consent Order.

RESPONSE: Plaintiff objects to this request as overly broad and unduly burdensome.

Plaintiff further objects to this request to the extent that it seeks to invade, or purport to

compel Plaintiff to disclose information which constitutes attorney work product. Subject to

said objection and without waiving same, Plaintiff lists following terms violated by

Defendants:

   1. Failure to provide accurate statements;

   2. Failure to provide online access to tender the funds;

   3. Failure to apply funds;

   4. Seeking to collect erroneous amounts in excess of what was allowed by the Consent

       Order;



                                                 6
Case 20-06070-sms       Doc 25     Filed 02/17/21 Entered 02/17/21 11:47:15           Desc Main
                                  Document      Page 7 of 10



   5. Failing to update Plaintiff’s account to reflect the Consent Order.

Plaintiff reserves the right to supplement and/or amend this response.

       14.     Please describe why you did not pay $15,794.24 to Citizens within ten days of entry

of the Consent Order, as required by the terms of the Consent Order.

RESPONE: Plaintiff objects to this request to the extent that it purports to allege Plaintiff’s

violation of the Consent Order. Plaintiffs response to this interrogatory is not an admission

to the violation of Consent Order. Subject to said objection, and without waiving same,

Plaintiff responds as follows: Plaintiff did not make the payment within the time frame

provided by the Consent Order because Defendants provided an inaccurate statement of the

amount due, creating confusion and mistrust. Moreover, Defendants failed provide the

online access for the Plaintiff to make the payment as required by the Consent Order.

       15.     If you provided anything other than an unqualified admission to any of the

Defendants’ Requests for Admission, please describe, in detail for each request, why you provided

denied the request or gave a qualified admission.

RESPONE: See Plaintiff’s Response to Request for Admission.

                   REQUESTS FOR PRODUCTION OF DOCUMENTS

       1.      Please produce all documents identified in response to Defendants’ First

Continuing Interrogatories to Defendant.


RESPONSE: Plaintiff objects to this request as overly broad and unduly burdensome.

Plaintiff further objects to this request to the extent that it seeks to invade, or purport to

compel Plaintiff to disclose information which constitutes attorney work product. Plaintiff

also objects as some or all of these documents are equally or more available to Defendants.

Without waiving, responding party states that all responsive, unprivileged, known, and


                                                7
Case 20-06070-sms        Doc 25        Filed 02/17/21 Entered 02/17/21 11:47:15      Desc Main
                                      Document      Page 8 of 10



reasonably available documents has been produced by Plaintiffs and/or Defendants are

already in possession of all the documents relevant to this request. Plaintiff reserves the right

to supplement and/or amend this response.

       2.      Please produce all documents that evidence any damages that you are claiming in

this adversary proceeding.


RESPONSE: Plaintiff objects to this request as overly broad and unduly burdensome.

Plaintiff further objects to this request to the extent that it seeks to invade, or purport to

compel Plaintiff to disclose information which constitutes attorney work product. Without

waiving, responding party states that all responsive, unprivileged, known, and reasonably

available documents has been produced by Plaintiffs and/or Defendants are already in

possession of all the documents relevant to this request. Plaintiff reserves the right to

supplement and/or amend this response.

       3.      Please produce all documents that you may introduce as evidence in any hearing or

trial in this adversary proceeding.

RESPONSE: Plaintiff objects to this request as overly broad and unduly burdensome.

Plaintiff further objects to this request to the extent that it seeks to invade, or purport to

compel Plaintiff to disclose information which constitutes attorney work product. Without

waiving, responding party states that all responsive, unprivileged, known, and reasonably

available documents has been produced by Plaintiffs and/or Defendants are already in

possession of all the documents relevant to this request. Plaintiff reserves the right to

supplement and/or amend this response.




                                                 8
Case 20-06070-sms      Doc 25    Filed 02/17/21 Entered 02/17/21 11:47:15          Desc Main
                                Document      Page 9 of 10



       4.     Please produce all documents within your possession or control evidencing any

communications with Citizens or LoanCare concerning the Consent Order or the issues raised in

the adversary proceeding.


RESPONSE: Plaintiff objects to this request as overly broad and unduly burdensome.

Plaintiff further objects to this request to the extent that it seeks to invade, or purport to

compel Plaintiff to disclose information which constitutes attorney work product. Without

waiving, responding party states that all responsive, unprivileged, known, and reasonably

available documents has been produced by Plaintiffs and/or Defendants are already in

possession of all the documents relevant to this request. However, Plaintiff is gathering the

documents in his possession. Plaintiff reserves the right to supplement and/or amend this

response.



Dated: February 17, 2021

                                           Respectfully submitted,
                                           JEFF FIELD & ASSOCIATES

                                           /s/ Christopher J. Sleeper
                                           ____________________________________
                                           CHRISTOPHER J. SLEEPER
                                           Attorney for Plaintiff
                                           State Bar No. 700884

342 North Clarendon Avenue
Scottdale, GA 30079
404-499-2700
contactus@fieldlawoffice.com




                                              9
Case 20-06070-sms       Doc 25    Filed 02/17/21 Entered 02/17/21 11:47:15             Desc Main
                                 Document     Page 10 of 10



                                CERTIFICATE OF SERVICE

       I hereby certify that I have this 17th day of February 2021, served the within and foregoing

pleading by placing a true and correct copy of same in the United States Mail, with first-class

postage affixed thereto, properly addressed as follows:

BRET J. CHANESS
Rubin Lublin, LLC
Suite 100
3145 Avalon Ridge Place
Peachtree Corners, GA 30071-1570

A. Christian Wilson
Simpson, Uchitel & Wilson, LLP
P. O. Box 550105
Atlanta, GA 30355-2505


Dated: February 17, 2021

                                             Respectfully submitted,
                                             JEFF FIELD & ASSOCIATES

                                             /s/ Christopher J. Sleeper
                                             ____________________________________
                                             CHRISTOPHER J. SLEEPER
                                             Attorney for Plaintiff
                                             State Bar No. 700884

342 North Clarendon Avenue
Scottdale, GA 30079
404-499-2700
contactus@fieldlawoffice.com




                                               10
